         Case 4:19-cv-00307-BRW Document 42-1 Filed 07/23/20 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

SAHARA BURTON, Individually and on                                                  PLAINTIFFS
Behalf of All Others Similarly Situated

                                CASE NO. 4:19-cv-00307-BRW

NILKANTH PIZZA, INC., and                                                         DEFENDANTS
JENNY PATEL

                          DEFENDANTS’ OFFER OF JUDGMENT

        Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants offer to allow

judgment to be taken against them in favor of Plaintiff Sahara Burton on the following terms:

        1.     Defendants will pay Plaintiff a sum of $5,000.00, less all required taxes and

withholdings, plus costs and a reasonable attorneys’ fee accrued to date as determined by the Court.

The gross sum of $5,000.00 is inclusive of (a) back pay or wages owed; and (b) any other alleged

money damages including compensatory or liquidated damages.

        2.      This offer of judgment is made for purposes specified in Rule 68 and is not to be

construed either as an admission that Defendants are liable in this action or that Plaintiff has

suffered any damages. This is an attempt to simply settle the case without the need for further

litigation.

        3.     If this offer is not accepted by Plaintiff in writing within fourteen (14) days after

service, it shall be deemed withdrawn, and evidence of this offer will not be admissible except in

a proceeding to determine costs or attorneys’ fees. If the sum of any judgment or relief awarded

to Plaintiff is not more favorable than the offer made, then Plaintiff may not recover her costs and

attorneys’ fees incurred after the date of this offer pursuant to Rule 68(d).         Additionally,
        Case 4:19-cv-00307-BRW Document 42-1 Filed 07/23/20 Page 2 of 2




Defendants will seek their costs and attorneys’ fees incurred after the date of this offer pursuant to

Rule 68(d).

                                                      Respectfully submitted,


                                                      Brian A. Vandiver
                                                      COX, STERLING, McCLURE &
                                                      VANDIVER, PLLC
                                                      8712 Counts Massie Road
                                                      North Little Rock, AR 72113
                                                      Telephone: (501) 954-8073
                                                      bavandiver@csmfirm.com




                                 CERTIFICATE OF SERVICE

       I, Brian A. Vandiver, do hereby certify that a true and correct copy of the foregoing
motion was served via email to the following on this 22nd day of July, 2020:


Steve Rauls
Josh Sanford
Sanford Law Firm, PLLC
650 S. Shackleford, Suite 411
Little Rock, AR 72211
steve@sanfordlawfirm.com
josh@sanfordlawfirm.com


                                                           Brian A. Vandiver
